  Case 2:03-cr-00799-JAG Document 86 Filed 11/11/08 Page 1 of 2 PageID: 153




                            UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF NEW JERSEY

____________________________________
                                    :
FAROOQ MALIK,                       :
                                    :
            Defendant,              :
                                    :                           Criminal No. 03-799 (JAG)
                  v.                :
                                    :                                    ORDER
UNITED STATES OF AMERICA,           :
                                    :
            Respondent.             :
____________________________________:


GREENAWAY, JR., U.S.D.J.

       This matter comes before this Court on Farooq Malik’s (“Defendant”) pro se Motion for

Return of Property, pursuant to FED . R. CRIM . P. 41(g) (Docket Entries Nos. 79 and 82). For the

reasons set forth below, this Court orders the United States to answer Defendant’s motion for the

return of property.

       On April 5, 2004, Defendant entered a guilty plea for the operation of an unlicensed

money transmitting business, pursuant to 18 U.S.C. §§ 1960 and 1962. (Docket Entry Nos. 53

and 64.) Pursuant to his plea, Defendant signed a Consent Judgment and Preliminary Order of

Forfeiture, in which he “agree[d] to the forfeiture of $27,000.00 in United States currency for

violations of 18 U.S.C. § 1960,” pursuant to 18 U.S.C. § 982. (Docket Entry No. 55.) The final

notice of forfeiture was filed on April 28, 2004.

       On April 6, 2005, this Court entered a Judgment of Conviction against Defendant,

sentencing him to 43 months of imprisonment. (Docket Entry No. 63.) On January 25, 2007,


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  Case 2:03-cr-00799-JAG Document 86 Filed 11/11/08 Page 2 of 2 PageID: 154




Defendant filed the Motion for the Return of Property.1 Defendant claims that at the time of his

arrest, the following items were seized from his residence: “$27,000.000 in U.S. Currency,

$55,000.00 in checks, a Canadian passport, citizenship card, driver’s license, health card, a

number of credit cards, and his account book.” (Docket Entry Nos. 79 and 82.)

       With the exception of the $27,000.00 that the Defendant has already agreed to forfeit, the

government has shown no reason as to why the remaining property should not be returned to

Defendant.

       Therefore, upon good cause appearing,

       IT IS on this 7th day of November 2008,

       ORDERED that the United States shall answer Defendant’s Motion for the Return of

Property by December 5, 2008; and it is further

       ORDERED that a copy of this Order be served on all parties within seven (7) days of the

date of this Order.




                                               S/Joseph A. Greenaway, Jr.
                                              JOSEPH A. GREENAWAY, JR., U.S.D.J.




       1
           On June 4, 2007, Defendant re-filed this motion. (Docket No. 82.)

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